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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

 NATIONAL TRUST INSURANCE                          )
 COMPANY,                                          )
                                                   )
            Plaintiff,                             )
 v.                                                )          Case No.: 3:21-cv-00914
                                                   )
 INTERCO TRADING COMPANY                           )
                                                   )
            Defendants.                            )

                         COMPLAINT FOR DECLARATORY JUDGMENT

           COMES NOW National Trust Insurance Company (hereinafter “National Trust”), and for

its Complaint for Declaratory Judgment under 28 U.S.C. §§ 1332 and Rule 57 of the Federal Rules

of Civil Procedure, states as follows:

                             PARTIES, JURISDICTION, AND VENUE

      1.      Plaintiff National Trust Insurance Company (hereinafter “National Trust”) is and, was

              at all times mentioned herein, a corporation incorporated under the laws of the State of

              Indiana with its principal place of business in Sarasota, Florida, engaged in the business

              of insurance and licensed to transact that business in the State of Illinois.

      2.      Upon reasonable information and belief, Interco Trading Company, Inc. (hereinafter

              “Interco”) is a corporation incorporated under the laws of the State of Illinois with its

              principal place of business in Madison, Illinois.

      3.      This case and controversy involve citizens of different states.

      4.      The amount in controversy exceeds $75,000.00 exclusive of interest and costs.

      5.      This Court has diversity jurisdiction under 28 U.S.C. § 1332(a)(1).
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6.     Venue is proper in the United States District Court for the Southern District of Illinois

       under 28 U.S.C. § 1391(a) because Defendant is a citizen of Illinois, and a substantial

       amount of the events and occurrences giving rise to this action occurred in this District.

7.     This Court “may declare the rights and other legal relations of any interested parties

       seeking such declaration” pursuant to the Declaratory Judgment Act, 28 U.S.C. §

       2201(a) with respect to the policies of insurance issued by National Trust and all above

       referenced parties are interested parties with respect to the determination of rights

       pursuant to the insurance policy issued by National Trust.

                             GENERAL ALLEGATIONS

8.     National Trust brings this action seeking the interpretation of an insurance policy

       described below and a declaration of its rights and obligations thereunder.

9.     National Trust issued a commercial package policy to Interco bearing policy number

       CPP100046888-01, with effective dates June 1, 2019 to June 1, 2020 (the “Policy”). A

       certified copy of the Policy is attached hereto and incorporated by reference as Exhibit

       A.

10.    Under the Policy, the following relevant limits apply to the building, business personal

       property, and loss of business income/extra expense:

                Coverage                                          Limit
      Blanket Building and Business                           $22,780,580.00
           Personal Property
         Loss of Business Income                                 $20,000.00

11.    Interco is a metal and electronics recycling company located in Madison, Illinois.

12.    In addition to the main business, Interco ran a separate entity called “Digital ITAD”

       which handled re-sale items in Interco’s inventory.

13.    On March 11, 2020, a fire broke out in Building 4 of Interco’s Madison, Illinois facility.


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14.        After the fire, Interco made a claim to National Trust for damages arising out of the

           fire.

15.        Specifically, Interco claimed to have sustained losses to its building, business personal

           property, and equipment in the fire.

16.        Interco also claimed it lost business income as well as incurred costs related to extra

           expenses and debris removal.

17.        National Trust conducted a thorough and extensive investigation into Interco’s claim.

18.        To date, National Trust has made payments totaling $14,449,069.94 on the claim.

19.        With the payments, National Trust fully settled the claims under the policy for damage

           to the building and damage to equipment.

20.        National Trust also issued undisputed amounts for debris removal, business personal

           property and loss of business of income.

21.        National Trust’s investigation is complete, and the company has determined no further

           money is owed under the policy of insurance including, but not limited to, any money

           under the coverages outlined below.

22.        Interco claims it is entitled to receive at least $8,755,182.06 more under the Policy as

           more fully outlined below.

      A.       Business Personal Property

23.        Interco has made a claim for damage to its business personal property.

24.        The relevant policy provisions state:

                                                  ***

               b. Your Business Personal Property consists of the following property located
               in or on the building or structure described in the Declarations or in the open (or in
               a vehicle) within 100 feet of the building or structure or within 100 feet of the
               premises described in the Declarations, whichever distance is greater:



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         (1) Furniture and fixtures;

         (2) Machinery and equipment;

         (3) "Stock";

                                          ***

         7. Valuation

         We will determine the value of Covered Property in the event of loss or damage as
         follows:

         c. "Stock" you have sold but not delivered at the selling price less discounts and
         expenses you otherwise would have had.

                                          ***

         f. Manufacturer’s Selling Price Finished “Stock” Only

         We will determine the value of finished “stock” you manufacture, in the event of
         loss or damage, at:
         (1) The selling price, as if no loss or damage occurred;
         (2) Less discounts and expenses you otherwise would have had.

                                          ***

25.   The Policy goes on to define “finished stock” as:

                                          ***
         F. Definitions

         1. "Finished stock" means stock you have manufactured.

         "Finished stock" also includes whiskey and alcoholic products being aged, unless
         there is a Coinsurance percentage shown for Business Income in the Declarations.

         "Finished stock" does not include stock you have manufactured that is held for sale
         on the premises of any retail outlet insured under this Coverage Part. Ex. A. p.

                                            ***

26.   National Trust received a demand on March 26, 2020, seeking $14,880,764.82 for all

      business personal property losses sustained from the fire.




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27.        To support this, Interco provided an inventory spreadsheet, which Interco claimed

           demonstrated the quantity and value of each item.

28.        In order to investigate this claim, National Trust gathered documents and took sworn

           testimony from representatives of Interco.

29.        Based on its investigation, National Trust tendered payments to Interco totaling

           $3,962,118.00 for the undisputed amount of business personal property.

30.        National Trust is also tendering an additional $584,105.00 for the business personal

           property claim.

31.        Interco is claiming an additional $10,085,352 in large part, because Interco believes it

           is entitled to receive “selling price” for all items listed on its inventory.

32.        National Trust disputes the majority of the items qualify for “selling price” under the

           language of the policy.

33.        National Trust also disputes Interco’s valuation of many of the items even at selling

           price and has ultimately found that no further money is owed under the policy of

           insurance.

      B.       Loss of Business Income/Extra Expense

34.        Interco has made a claim for loss of business income and extra expense under the policy

           of insurance.

35.        The relevant policy provisions state:

                                                 ***

               c. Extended Business Income

                        (1) Business Income Other Than "Rental Value"

                        If the necessary "suspension" of your "operations" produces a Business
                        Income loss payable under this policy, we will pay for the actual loss of
                        Business Income you incur during the period that:


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                       (a) Begins on the date property (except "finished stock") is actually
                       repaired, rebuilt or replaced and "operations" are resumed; and

                       (b) Ends on the earlier of:

                              (i) The date you could restore your "operations", with
                              reasonable speed, to the level which would generate the
                              business income amount that would have existed if no direct
                              physical loss or damage had occurred; or

                              (ii) 60 consecutive days after the date determined in (1)(a)
                              above.

                       However, Extended Business Income does not apply to loss of
                       Business Income incurred as a result of unfavorable business
                       conditions caused by the impact of the Covered Cause of Loss in the
                       area where the described premises are located. Loss of Business
                       Income must be caused by direct physical loss or damage at the
                       described premises caused by or resulting from any Covered Cause
                       of Loss.

                                        ***

         g. Business Income And Extra Expense

                (1) Business Income

                We will pay for the actual loss of Business Income you sustain due to the
                necessary “suspension” of your “operations” during the “period of
                restoration” caused by or resulting from any Covered Cause Of Loss.

                The “suspension” must be caused by direct physical loss of or damage to:

                       (a) Property at premises, which are described in the declarations
                       including personal property in the open (or in a vehicle) within 1,000
                       feet of the described premises; or

                                        ***

         Resumption Of Operations

         We will reduce the amount of your:

                (1) Business Income loss, other than Extra expense, to the extent you can
                resume your “operations”, in whole or in part, by using damaged or
                undamaged property (including merchandise or stock) at the described
                premises or elsewhere.



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                      (2) Extra Expense loss to the extent you can return “operations” to normal
                      and discontinue such Extra Expense.

              If you do not resume “operations” as quickly as possible, we will pay based on the
              length of time it would have taken to resume “operations” as quickly as possible.

              We will only pay for loss of Business Income and Extra Expense that occurs within
              12 consecutive months after the date of direct physical loss or damage.

              The most we will pay for loss in any one occurrence under this Additional Coverage
              for both Business Income And Extra Expense is the lesser of $20,000 or the actual
              loss sustained. Ex. A. p.

                                               ***

36.        On September 17, 2020, National Trust tendered the full limits of $20,000.00 for the

           loss of business income/extra expense portion of the claim.

37.        As the limits have been paid, no further money is owed under the policy of insurance.

38.        Interco disputes this and believes it is owed up to $3,000,000.00 under the Policy for

           its loss of business income.

      C.      Debris Removal

39.        National Trust submitted payment to Interco on May 5, 2020, in the amount of

           $396,490.80 for debris removal.

40.        The relevant policy provisions state:

                                               ***

              4. Additional Coverages

                      a. Debris Removal

                              (1) Subject to Paragraphs (2), (3) and (4), we will pay your expense
                              to remove debris of Covered Property and other debris that is on the
                              described premises, when such debris is caused by or results from a
                              Covered Cause of Loss that occurs during the policy period. The
                              expenses will be paid only if they are reported to us in writing within
                              180 days of the date of direct physical loss or damage.

                              (2) Debris Removal does not apply to costs to:



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                            (a) Remove debris of property of yours that is not insured
                            under this policy, or property in your possession that is not
                            Covered Property;

                            (b) Remove debris of property owned by or leased to the
                            landlord of the building where your described premises are
                            located, unless you have a contractual responsibility to
                            insure such property and it is insured under this policy;

                            (c) Remove any property that is Property Not Covered,
                            including property addressed under the Outdoor Property
                            Coverage Extension;

                            (d) Remove property of others of a type that would not be
                            Covered Property under this Coverage Form;

                            (e) Remove deposits of mud or earth from the grounds of the
                            described premises;

                            (f) Extract "pollutants" from land or water; or

                            (g) Remove, restore or replace polluted land or water.

                     (3) Subject to the exceptions in Paragraph (4), the following
                     provisions apply:

                            (a) The most we will pay for the total of direct physical loss
                            or damage plus debris removal expense is the Limit of
                            Insurance applicable to the Covered Property that has
                            sustained loss or damage.

                            (b) Subject to (a) above, the amount we will pay for debris
                            removal expense is limited to 25% of the sum of the
                            deductible plus the amount that we pay for direct physical
                            loss or damage to the Covered Property that has sustained
                            loss or damage. However, if no Covered Property has
                            sustained direct physical loss or damage, the most we will
                            pay for removal of debris of other property (if such removal
                            is covered under this Additional Coverage) is $5,000 at each
                            location.

                     (4) We will pay up to an additional $25,000 for debris removal
                     expense, for each location, in any one occurrence of physical loss or
                     damage to Covered Property, if one or both of the following
                     circumstances apply:

                            (a) The total of the actual debris removal expense plus the
                            amount we pay for direct physical loss or damage exceeds


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                                the Limit of Insurance on the Covered Property that has
                                sustained loss or damage.

                                (b) The actual debris removal expense exceeds 25% of the
                                sum of the deductible plus the amount that we pay for direct
                                physical loss or damage to the Covered Property that has
                                sustained loss or damage. Page 4 of 16 Insurance Services
                                Office, Inc., 2011 CP 00 10 10 12 Therefore, if (4)(a) and/or
                                (4)(b) applies, our total payment for direct physical loss or
                                damage and debris removal expense may reach but will
                                never exceed the Limit of Insurance on the Covered Property
                                that has sustained loss or damage, plus $25,000.

                                         ***

                 Debris Removal –

                        1. Coverage – "We" pay the cost to remove the debris of covered
                           property that is caused by a covered peril.

                        2. We Do Not Cover – This coverage does not include costs to:

                            1) extract "pollutants" from land or water; or
                            2) remove, restore, or replace polluted land or water.


                        3. Limit – "We" do not pay any more under this coverage than 25%
                           of the amount "we" pay for the direct physical loss. "We" will
                           not pay more for loss to property and debris removal combined
                           than the "limit" for the damaged property.

                        4. Additional Limit -- "We" pay up to an additional $5,000 for
                           debris removal expense when the debris removal expense
                           exceeds 25% of the amount "we" pay for direct physical loss or
                           when the loss to property and debris removal combined exceeds
                           the "limit" for the damaged property.

                        5. You Must Report Your Expenses – "We" do not pay any
                           expenses unless they are reported to "us" in writing within 180
                           days from the date of direct physical loss to covered property.

                                         ***

41.   Interco has indicated it may seek additional amounts for debris removal.




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   42.       National Trust has paid what it is owed for debris removal under the policy of

             insurance.

                                             SUMMARY

   43.       An actual, justiciable controversy exists between National Trust and Interco, and

             litigation as to this controversy is imminent and inevitable. The resolution of the

             matters raised in this declaratory judgment action will dispose of the issues and disputes

             between the parties.

   44.       All necessary and proper parties are before the Court for the matters in controversy.

   45.       National Trust has no other adequate remedy at law.

   WHEREFORE, Plaintiff National Trust Insurance Company prays that this Court declare the

rights of the parties under the aforementioned Policy of insurance and enter judgment finding and

declaring:

         a. That National Trust owes nothing further the business personal property including

             additional amounts for items valued at selling price;

         b. National Trust paid all amounts due for the loss of business income/extra expense

             coverage under the Policy, and Interco is not entitled to receive additional payments

             under the Policy;

         c. National Trust paid all amounts due for debris removal coverage under the policy, and

             Interco is not entitled to receive additional payments for debris removal under the

             Policy;

         d. That National Trust owes no more payments to Interco or any other entities for the

             March 11, 2020, loss under any coverages in the Policy.

         e. That National Trust is entitled to its costs, including attorneys’ fees; and




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       f. That National Trust is entitled to any such further relief this Court deems just and

           proper under the circumstances.



                                             Respectfully submitted,

                                             KNIGHT NICASTRO MACKAY, LLC


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                                CERTIFICATE OF SERVICE

        I HEREBY certify that on this 10th day of August, 2021, I electronically filed the above
and foregoing using the CM/ECF system, which will send a notice of electronic filing to all counsel
of record.


                                              /s/ Jonathan B. Morrow




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